                                                                                                              Case 10-15445-RGM                            Doc 1
                                                                                                                                                            Filed 06/28/10 Entered 06/28/10 18:02:18 Desc Main
                                                                                                  B1 (Official Form 1) (4/10)                              Document Page 1 of 50
                                                                                                                                            United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                              Eastern District of Virginia
                                                                                                   Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                    Cruz, Gerson O.
                                                                                                   All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                   (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                    aka Gerson O Cruz-Sosa

                                                                                                  Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                  (if more than one, state all): 2658                                               (if more than one, state all):

                                                                                                   Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                    7812 Cliffside Court
                                                                                                    Springfield, VA                                                      ZIPCODE                                                                                           ZIPCODE
                                                                                                                                                                            22153
                                                                                                   County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                                    Fairfax
                                                                                                   Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                         ZIPCODE                                                                                            ZIPCODE

                                                                                                   Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                            ZIPCODE

                                                                                                                 Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                              (Form of Organization)                         (Check one box)                                                          the Petition is Filed (Check one box)
                                                                                                                 (Check one box)                                 Health Care Business                                       Chapter 7
                                                                                                                                                                                                                                                      Chapter 15 Petition for
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in
                                                                                                                                                                 11 U.S.C. § 101 (51B)                                      Chapter 9                 Recognition of a Foreign
                                                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                                                 Railroad                                                                             Main Proceeding
                                                                                                      Corporation (includes LLC and LLP)                                                                                    Chapter 11
                                                                                                      Partnership                                                Stockbroker                                                                          Chapter 15 Petition for
                                                                                                                                                                                                                             Chapter 12
                                                                                                      Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Recognition of a Foreign
                                                                                                                                                                                                                            Chapter 13                Nonmain Proceeding
                                                                                                      check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                                 Other                                                                        Nature of Debts
                                                                                                                                                                                                                                              (Check one box)
                                                                                                                                                                                                                            Debts are primarily consumer
                                                                                                                                                                            Tax-Exempt Entity                               debts, defined in 11 U.S.C.                    Debts are primarily
                                                                                                                                                                          (Check box, if applicable)                        §101(8) as "incurred by an                     business debts
                                                                                                                                                                    Debtor is a tax-exempt organization                     individual primarily for a
                                                                                                                                                                    under Title 26 of the United States                     personal, family, or household
                                                                                                                                                                    Code (the Internal Revenue Code)                        purpose."
                                                                                                                              Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                          Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                              Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                          Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                          signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                          to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                                 4/01/13 and every three years thereafter).
                                                                                                                                                                                                           Check all applicable boxes
                                                                                                          Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                 A plan is being filed with this petition.
                                                                                                          attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                 Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                                 more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                    Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                            COURT USE ONLY
                                                                                                      Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                      distribution to unsecured creditors.
                                                                                                  Estimated Number of Creditors

                                                                                                   1-49           50-99          100-199           200-999          1000-            5,001-            10,001-          25,001-          50,001-          Over
                                                                                                                                                                    5000             10,000            25,000           50,000           100,000          100,000
                                                                                                  Estimated Assets

                                                                                                  $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                                  $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                                  million        million          million         million             million
                                                                                                  Estimated Liabilities

                                                                                                  $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                                  $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                                  million        million          million         million             million
                                                                                                         Case
                                                                                                  B1 (Official   10-15445-RGM
                                                                                                               Form 1) (4/10)                          Doc 1         Filed 06/28/10 Entered 06/28/10 18:02:18                                               Desc Main              Page 2
                                                                                                  Voluntary Petition                                                 Document Page Name2ofof 50
                                                                                                                                                                                          Debtor(s):
                                                                                                  (This page must be completed and filed in every case)                                       Gerson O. Cruz
                                                                                                                        All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                  Location                                                                              Case Number:                                          Date Filed:
                                                                                                  Where Filed:           NONE

                                                                                                  Location                                                                              Case Number:                                          Date Filed:
                                                                                                  Where Filed:
                                                                                                                   N.A.
                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                   Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                                   District:                                                                            Relationship:                                          Judge:


                                                                                                                                  Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                    (To be completed if debtor is an individual
                                                                                                  (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                                  10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                  Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                          the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                  relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                          I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).



                                                                                                           Exhibit A is attached and made a part of this petition.                        X         /s/ Alisa Lachow-Thurston                               06/29/2010
                                                                                                                                                                                                Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                                Exhibit C
                                                                                                  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                           Yes, and Exhibit C is attached and made a part of this petition.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                           No


                                                                                                                                                                                 Exhibit D
                                                                                                   (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                               Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                   If this is a joint petition:
                                                                                                               Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                              Information Regarding the Debtor - Venue
                                                                                                                                                                          (Check any applicable box)
                                                                                                                           Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                           There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                           Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                           or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                           court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                     Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                            (Check all applicable boxes)
                                                                                                                           Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                           (Name of landlord that obtained judgment)


                                                                                                                                                                            (Address of landlord)
                                                                                                                           Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                           entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                           Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                           period after the filing of the petition.
                                                                                                                           Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                            Case 10-15445-RGM                       Doc 1        Filed 06/28/10 Entered 06/28/10 18:02:18                                               Desc Main
                                                                                                  B1 (Official Form 1) (4/10)                                    Document Page 3 of 50                                                                                            Page 3
                                                                                                  Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                  (This page must be completed and filed in every case)                                 Gerson O. Cruz
                                                                                                                                                                                 Signatures
                                                                                                              Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                    I declare under penalty of perjury that the information provided in this petition
                                                                                                    is true and correct.
                                                                                                    [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                    has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                    chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                    available under each such chapter, and choose to proceed under chapter 7.
                                                                                                    [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                    petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                    I request relief in accordance with chapter 15 of title 11, United States
                                                                                                    I request relief in accordance with the chapter of title 11, United States                      Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                    Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                    Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                    title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                    recognition of the foreign main proceeding is attached.
                                                                                                    X /s/ Gerson O. Cruz
                                                                                                        Signature of Debtor                                                                X
                                                                                                                                                                                               (Signature of Foreign Representative)
                                                                                                    X
                                                                                                        Signature of Joint Debtor

                                                                                                                                                                                                (Printed Name of Foreign Representative)
                                                                                                         Telephone Number (If not represented by attorney)

                                                                                                         06/29/2010
                                                                                                                                                                                                 (Date)
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                         Date

                                                                                                                         Signature of Attorney*
                                                                                                   X       /s/ Alisa Lachow-Thurston                                                                Signature of Non-Attorney Petition Preparer
                                                                                                        Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                          as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                        ALISA LACHOW-THURSTON 65650                                                       and have provided the debtor with a copy of this document and the notices
                                                                                                        Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                          and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                          3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                        Property & Estate Law                                                             setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                        Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                        Property and Estate Law, PLC                                                      document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                        Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                        1950 Old Gallows Road, Suite 220                Vienna, VA 22182
                                                                                                                                                                                          Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                        703-621-3333
                                                                                                       Telephone Number
                                                                                                                                                                                          Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                        06/29/2010                                                                        state the Social Security number of the officer, principal, responsible person or
                                                                                                      Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                   *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                   certification that the attorney has no knowledge after an inquiry that the
                                                                                                   information in the schedules is incorrect.                                              Address

                                                                                                           Signature of Debtor (Corporation/Partnership)
                                                                                                     I declare under penalty of perjury that the information provided in this petition
                                                                                                     is true and correct, and that I have been authorized to file this petition on       X
                                                                                                     behalf of the debtor.

                                                                                                     The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                     United States Code, specified in this petition.
                                                                                                                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                             person, or partner whose Social Security number is provided above.
                                                                                                   X
                                                                                                        Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                             not an individual:
                                                                                                        Printed Name of Authorized Individual
                                                                                                                                                                                             If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                             conforming to the appropriate official form for each person.
                                                                                                        Title of Authorized Individual
                                                                                                                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                             and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                       Date
                                                                                                                                                                                             imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                     Case 10-15445-RGM                         Doc 1   Filed 06/28/10 Entered 06/28/10 18:02:18     Desc Main
                                                                                                                                                       Document Page 4 of 50
                                                                                                  B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                                                                                                       Eastern District of Virginia




                                                                                                        Gerson O. Cruz
                                                                                                  In re______________________________________                                     Case No._____________
                                                                                                                 Debtor(s)                                                              (if known)


                                                                                                             EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                             CREDIT COUNSELING REQUIREMENT

                                                                                                          Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                  filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                  you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                  required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                  collection activities.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                  must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                  any documents as directed.

                                                                                                         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                  from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                  administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                  performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                  developed through the agency.

                                                                                                          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                  from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                  administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                  performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                  the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                  services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                  no later than 14 days after your bankruptcy case is filed.
                                                                                                     Case 10-15445-RGM                     Doc 1   Filed 06/28/10 Entered 06/28/10 18:02:18   Desc Main
                                                                                                                                                   Document Page 5 of 50
                                                                                                  B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                              Page 2


                                                                                                          3. I certify that I requested credit counseling services from an approved agency but
                                                                                                  was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                  following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                  so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                         If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                  counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                  promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                  copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                  requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                  can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                  be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                  without first receiving a credit counseling briefing.

                                                                                                         4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                         illness or mental deficiency so as to be incapable of realizing and making rational
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                         decisions with respect to financial responsibilities.);
                                                                                                                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                         extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                         briefing in person, by telephone, or through the Internet.);
                                                                                                                 Active military duty in a military combat zone.

                                                                                                         5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                         I certify under penalty of perjury that the information provided above is true and
                                                                                                  correct.



                                                                                                                               Signature of Debtor:             /s/ Gerson O. Cruz
                                                                                                                                                               GERSON O. CRUZ

                                                                                                                                                            06/29/2010
                                                                                                                                                   Date: _________________
                                                                                                  Case 10-15445-RGM         Doc 1     Filed 06/28/10 Entered 06/28/10 18:02:18               Desc Main
                                                                                                                                      Document Page 6 of 50



                                                                                                    B6 Cover (Form 6 Cover) (12/07)



                                                                                                     FORM 6. SCHEDULES

                                                                                                     Summary of Schedules
                                                                                                     Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                     Schedule A - Real Property
                                                                                                     Schedule B - Personal Property
                                                                                                     Schedule C - Property Claimed as Exempt
                                                                                                     Schedule D - Creditors Holding Secured Claims
                                                                                                     Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                     Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                     Schedule G - Executory Contracts and Unexpired Leases
                                                                                                     Schedule H - Codebtors
                                                                                                     Schedule I - Current Income of Individual Debtor(s)
                                                                                                     Schedule J - Current Expenditures of Individual Debtor(s)
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                     Unsworn Declaration under Penalty of Perjury


                                                                                                     GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                     amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                     identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                     the case number should be left blank

                                                                                                     Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                     claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                     A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                     which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                     the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                     transactions, each claim should be scheduled separately.

                                                                                                     Review the specific instructions for each schedule before completing the schedule.
                                                                                                            Case
                                                                                                  B6A (Official Form10-15445-RGM
                                                                                                                     6A) (12/07)                  Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                              Desc Main
                                                                                                                                                              Document Page 7 of 50
                                                                                                  In re    Gerson O. Cruz                                                                        Case No.
                                                                                                                             Debtor                                                                                                    (If known)

                                                                                                                                                  SCHEDULE A - REAL PROPERTY
                                                                                                     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                  tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                  the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                  “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                  “Description and Location of Property.”

                                                                                                    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                  Unexpired Leases.

                                                                                                      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                  claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                  Property Claimed as Exempt.




                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                 CURRENT VALUE
                                                                                                                                                                                                                                   OF DEBTOR’S
                                                                                                                DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN        AMOUNT OF
                                                                                                                       OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT       SECURED
                                                                                                                                                                                                                                 DEDUCTING ANY          CLAIM
                                                                                                                                                                                                                                 SECURED CLAIM
                                                                                                                                                                                                                                  OR EXEMPTION
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                   Single Family House                                           Fee Simple                                 H                         475,000.00        554,368.00
                                                                                                   7812 Cliffside Court
                                                                                                   Springfield, VA 22153




                                                                                                                                                                                                Total
                                                                                                                                                                                                                                      475,000.00

                                                                                                                                                                                                (Report also on Summary of Schedules.)
                                                                                                            Case
                                                                                                  B6B (Official Form10-15445-RGM
                                                                                                                     6B) (12/07)                           Doc 1     Filed 06/28/10 Entered 06/28/10 18:02:18                                       Desc Main
                                                                                                                                                                     Document Page 8 of 50
                                                                                                  In re     Gerson O. Cruz                                                                         Case No.
                                                                                                                                    Debtor                                                                             (If known)

                                                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                       Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                  place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                  identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                  community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                  individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                  Unexpired Leases.

                                                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                  If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                           N                                                                                           IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                             O                  DESCRIPTION AND LOCATION                                                   WITHOUT
                                                                                                                                                           N                        OF PROPERTY                                                      DEDUCTING ANY
                                                                                                                                                           E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                    1. Cash on hand.                                       X
                                                                                                    2. Checking, savings or other financial accounts,          Bank of America Checking                                          H                           350.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                    certificates of deposit, or shares in banks, savings
                                                                                                    and loan, thrift, building and loan, and homestead         Bank of America Savings                                           H                           103.00
                                                                                                    associations, or credit unions, brokerage houses,          Chevy Chase Checking                                              H                           490.00
                                                                                                    or cooperatives.
                                                                                                                                                               Chevy Chase Savings                                               H                            10.00
                                                                                                                                                               Chevy Chase CD                                                    H                         1,000.00
                                                                                                    3. Security deposits with public utilities,            X
                                                                                                    telephone companies, landlords, and others.

                                                                                                    4. Household goods and furnishings, including              Household Furniture: 3 bedroom sets, dining room set,             C                         5,000.00
                                                                                                    audio, video, and computer equipment.
                                                                                                                                                               living room set, kitchen appliances, home decor
                                                                                                    5. Books. Pictures and other art objects,              X
                                                                                                    antiques, stamp, coin, record, tape, compact disc,
                                                                                                    and other collections or collectibles.

                                                                                                    6. Wearing apparel.                                        Wearing Apparel                                                   H                         1,000.00
                                                                                                    7. Furs and jewelry.                                   X
                                                                                                    8. Firearms and sports, photographic, and other        X
                                                                                                    hobby equipment.

                                                                                                    9. Interests in insurance policies. Name               X
                                                                                                    insurance company of each policy and itemize
                                                                                                    surrender or refund value of each.

                                                                                                    10. Annuities. Itemize and name each issuer.           X
                                                                                                    11. Interests in an education IRA as defined in 26     X
                                                                                                    U.S.C. § 530(b)(1) or under a qualified State
                                                                                                    tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                    Give particulars. (File separately the record(s) of
                                                                                                    any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                    12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                                    pension or profit sharing plans. Give particulars.
                                                                                                            Case
                                                                                                  B6B (Official Form10-15445-RGM
                                                                                                                     6B) (12/07) -- Cont.                  Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18                              Desc Main
                                                                                                                                                                    Document Page 9 of 50
                                                                                                  In re     Gerson O. Cruz                                                                         Case No.
                                                                                                                                     Debtor                                                                   (If known)

                                                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                           N                                                                                 IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                             O                 DESCRIPTION AND LOCATION                                          WITHOUT
                                                                                                                                                           N                       OF PROPERTY                                             DEDUCTING ANY
                                                                                                                                                           E                                                                               SECURED CLAIM
                                                                                                                                                                                                                                            OR EXEMPTION


                                                                                                    13. Stock and interests in incorporated and            X
                                                                                                    unincorporated businesses. Itemize.

                                                                                                    14. Interests in partnerships or joint ventures.       X
                                                                                                    Itemize.

                                                                                                    15. Government and corporate bonds and other           X
                                                                                                    negotiable and non-negotiable instruments.

                                                                                                    16. Accounts receivable.                               X
                                                                                                    17. Alimony, maintenance, support, and property        X
                                                                                                    settlement to which the debtor is or may be
                                                                                                    entitled. Give particulars.

                                                                                                    18. Other liquidated debts owing debtor including      X
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                    tax refunds. Give particulars.

                                                                                                    19. Equitable or future interests, life estates, and   X
                                                                                                    rights or powers exercisable for the benefit of the
                                                                                                    debtor other than those listed in Schedule A -
                                                                                                    Real Property.

                                                                                                    20. Contingent and noncontingent interests in          X
                                                                                                    estate or a decedent, death benefit plan, life
                                                                                                    insurance policy, or trust.

                                                                                                    21. Other contingent and unliquidated claims of        X
                                                                                                    every nature, including tax refunds, counterclaims
                                                                                                    of the debtor, and rights of setoff claims. Give
                                                                                                    estimated value of each.

                                                                                                    22. Patents, copyrights, and other intellectual        X
                                                                                                    property. Give particulars.

                                                                                                    23. Licenses, franchises, and other general            X
                                                                                                    intangibles. Give particulars.

                                                                                                    24. Customer lists or other compilations               X
                                                                                                    containing personally identifiable information (as
                                                                                                    defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                    debtor by individuals in connection with obtaining
                                                                                                    a product or service from the debtor primarily for
                                                                                                    personal, family, or household purposes.

                                                                                                    25. Automobiles, trucks, trailers, and other               2009 Jeep Wrangler 15,000 miles                         H                        18,075.00
                                                                                                    vehicles and accessories.
                                                                                                                                                               2006 Honda Ridgeline 65,000 miles                       H                        11,950.00
                                                                                                                                                               2006 BMW 3 Series 56,000 miles                          H                        14,975.00
                                                                                                                                                               2007 E-Ton RX4-70 Viper                                 H                           665.00
                                                                                                                                                               2006 Yamaha TT-R125E                                    H                           765.00
                                                                                                                                                               2006 Yamaha TT-R50                                      H                           425.00
                                                                                                    26. Boats, motors, and accessories.                    X
                                                                                                    27. Aircraft and accessories.                          X
                                                                                                           Case
                                                                                                  B6B (Official    10-15445-RGM
                                                                                                                Form 6B) (12/07) -- Cont.              Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18                                           Desc Main
                                                                                                                                                               Document Page 10 of 50
                                                                                                  In re     Gerson O. Cruz                                                               Case No.
                                                                                                                                   Debtor                                                                         (If known)

                                                                                                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                   CURRENT VALUE OF




                                                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                                                   DEBTOR’S INTEREST
                                                                                                                                                       N                                                                                              IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                         O             DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                       N                   OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                       E                                                                                            SECURED CLAIM
                                                                                                                                                                                                                                                     OR EXEMPTION


                                                                                                    28. Office equipment, furnishings, and supplies.   X
                                                                                                    29. Machinery, fixtures, equipment, and supplies   X
                                                                                                    used in business.

                                                                                                    30. Inventory.                                     X
                                                                                                    31. Animals.                                       X
                                                                                                    32. Crops - growing or harvested. Give             X
                                                                                                    particulars.

                                                                                                    33. Farming equipment and implements.              X
                                                                                                    34. Farm supplies, chemicals, and feed.            X
                                                                                                    35. Other personal property of any kind not        X
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                    already listed. Itemize.




                                                                                                                                                                         0                                                                         $
                                                                                                                                                                                continuation sheets attached        Total                                54,808.00
                                                                                                                                                                                (Include amounts from any continuation
                                                                                                                                                                                  sheets attached. Report total also on
                                                                                                                                                                                        Summary of Schedules.)
                                                                                                              Case 10-15445-RGM                Doc 1      Filed 06/28/10 Entered 06/28/10 18:02:18                             Desc Main
                                                                                                    B6C (Official Form 6C) (04/10)
                                                                                                                                                         Document Page 11 of 50
                                                                                                  In re    Gerson O. Cruz                                                                  Case No.
                                                                                                                            Debtor                                                                                (If known)

                                                                                                                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                    Debtor claims the exemptions to which debtor is entitled under:
                                                                                                    (Check one box)

                                                                                                          11 U.S.C. § 522(b)(2)                                            Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                           $146,450*.
                                                                                                          11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                             CURRENT
                                                                                                                                                                 SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                              DESCRIPTION OF PROPERTY                          PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                                  EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                                     Bank of America Checking                        Va. Code §34-13                                        350.00                      350.00

                                                                                                     Bank of America Savings                         Va. Code §34-13                                        103.00                      103.00

                                                                                                     Chevy Chase Checking                            Va. Code §34-13                                        490.00                      490.00

                                                                                                     Chevy Chase Savings                             Va. Code §34-13                                          10.00                      10.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                     Household Furniture: 3 bedroom sets, dining     Va. Code §34-26 (4)(a)                                5,000.00                    5,000.00
                                                                                                     room set, living room set, kitchen
                                                                                                     appliances, home decor

                                                                                                     Wearing Apparel                                 Va. Code §34-26 (4)                                   1,000.00                    1,000.00

                                                                                                     2007 E-Ton RX4-70 Viper                         Va. Code §34-13                                        665.00                      665.00

                                                                                                     2006 Yamaha TT-R125E                            Va. Code §34-13                                        765.00                      765.00

                                                                                                     2006 Yamaha TT-R50                              Va. Code §34-13                                        425.00                      425.00

                                                                                                     Chevy Chase CD                                  Va. Code §34-13                                       1,000.00                    1,000.00




                                                                                                    *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                          Case 10-15445-RGM                    Doc 1                                 Filed 06/28/10 Entered 06/28/10 18:02:18                                           Desc Main
                                                                                                                                                                                    Document Page 12 of 50
                                                                                                  B6D (Official Form 6D) (12/07)

                                                                                                           Gerson O. Cruz
                                                                                                  In re _______________________________________________,                                                               Case No. _________________________________
                                                                                                                                 Debtor                                                                                                                              (If known)

                                                                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                             State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                  by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                  useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                  such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                              List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                  address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                  §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                             If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                  include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                  husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                  "Husband, Wife, Joint, or Community."
                                                                                                             If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                  labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                  one of these three columns.)
                                                                                                             Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                  labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                  Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                  the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                            Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                                                                                                                                                                 AMOUNT
                                                                                                                                                             HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                                                       DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                                  CODEBTOR




                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                                                               ORCOMMUNITY




                                                                                                             CREDITOR’S NAME,
                                                                                                              MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                     CLAIM           UNSECURED
                                                                                                            INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                       WITHOUT           PORTION,
                                                                                                           AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                     DEDUCTING           IF ANY
                                                                                                             (See Instructions Above.)                                                      SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL


                                                                                                  ACCOUNT NO. 74558679                                                              Incurred: 03/06                                                                                  970.00
                                                                                                  AMERICAN HONDA FINANCE                                                            Lien: PMSI
                                                                                                  8601 MCALPINE PARK DR ST                                                          Security: 2006 Honda Ridgeline
                                                                                                                                                                                                                                                                 12,920.00
                                                                                                  CHARLOTTE, NC 28211

                                                                                                                                                                                     VALUE $               11,950.00
                                                                                                  ACCOUNT NO. 1000462951                                                            Incurred: 06/06                                                                                  844.00
                                                                                                  BMW FIN                                                                           Lien: PMSI
                                                                                                  5515 PARK CENTER PO # 2047374                                                     Security: 2006 BMW 3 Series
                                                                                                                                                                                                                                                                 15,819.00
                                                                                                  DUBLIN, OH 43017

                                                                                                                                                                                     VALUE $               14,975.00
                                                                                                  ACCOUNT NO. 10835311043605                                                        Incurred: 12/08                                                                                 1,754.00
                                                                                                  CHASE                                                                             Lien: PMSI
                                                                                                  201 N WALNUT ST # DE1-10                                                          Security: 2009 Jeep Wrangler
                                                                                                                                                                                                                                                                 19,829.00
                                                                                                  WILMINGTON, DE 19801


                                                                                                                                                                                     VALUE $               18,075.00

                                                                                                     1
                                                                                                   _______continuation sheets attached                                                                                 Subtotal     $                            48,568.00   $      3,568.00
                                                                                                                                                                                                               (Total of this page)
                                                                                                                                                                                                                           Total    $                                        $
                                                                                                                                                                                                            (Use only on last page)
                                                                                                                                                                                                                                                     (Report also on       (If applicable, report
                                                                                                                                                                                                                                                     Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                           Summary of Certain
                                                                                                                                                                                                                                                                           Liabilities and Related
                                                                                                                                                                                                                                                                           Data.)
                                                                                                          Case 10-15445-RGM                      Doc 1                                Filed 06/28/10 Entered 06/28/10 18:02:18                                                              Desc Main
                                                                                                                                                                                     Document Page 13 of 50
                                                                                                  B6D (Official Form 6D) (12/07) – Cont.



                                                                                                           Gerson O. Cruz
                                                                                                  In re __________________________________________________,                                                                  Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                                        (If known)



                                                                                                                       SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                               AMOUNT




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                ORCOMMUNITY




                                                                                                                                                                                                                                    CONTINGENT
                                                                                                             CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                                 OF




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                              MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                                 CLAIM              UNSECURED
                                                                                                            INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                                   WITHOUT              PORTION,
                                                                                                           AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                                 DEDUCTING              IF ANY
                                                                                                             (See Instructions Above.)                                                        SUBJECT TO LIEN                                                                  VALUE OF
                                                                                                                                                                                                                                                                             COLLATERAL

                                                                                                  ACCOUNT NO. 7440456564                                                             Incurred: 10/05
                                                                                                                                                                                     Lien: First Mortgage                                                                                             79,368.00
                                                                                                  GMAC MORTGAGE                                                                      Security: 7812 Cliffside Court, Springfield,
                                                                                                  3451 HAMMOND AVE                                                                   VA
                                                                                                                                                                                                                                                                                 554,368.00
                                                                                                  WATERLOO, IA 50702

                                                                                                                                                                                     VALUE $                       475,000.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  ACCOUNT NO.




                                                                                                                                                                                     VALUE $
                                                                                                  ACCOUNT NO.




                                                                                                                                                                                     VALUE $
                                                                                                  ACCOUNT NO.




                                                                                                                                                                                     VALUE $
                                                                                                  ACCOUNT NO.




                                                                                                                                                                                     VALUE $
                                                                                                             1 of ___continuation
                                                                                                  Sheet no. ___    1              sheets attached to                                                                           Subtotal (s)    $                                 554,368.00 $         79,368.00
                                                                                                  Schedule of Creditors Holding Secured Claims                                                                         (Total(s) of this page)
                                                                                                                                                                                                                                     Total(s) $                                  602,936.00 $         82,936.00
                                                                                                                                                                                                                      (Use only on last page)
                                                                                                                                                                                                                                                                           (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                           Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                                                                                                                                                 Data.)
                                                                                                          Case 10-15445-RGM                     Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                        Desc Main
                                                                                                                                                           Document Page 14 of 50
                                                                                                  B6E (Official Form 6E) (04/10)


                                                                                                             Gerson O. Cruz
                                                                                                     In re________________________________________________________________,                             Case No.______________________________
                                                                                                                             Debtor                                                                                   (if known)

                                                                                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                    address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                    property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                    the type of priority.

                                                                                                           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                    the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                    entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                    both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                    Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                    in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                    more than one of these three columns.)

                                                                                                          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                    Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                              Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                    amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                    primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                             Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                    amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                    with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                    Data.



                                                                                                        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                   TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                         Domestic Support Obligations

                                                                                                        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                  or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                  11 U.S.C. § 507(a)(1).


                                                                                                         Extensions of credit in an involuntary case

                                                                                                        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                  appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                         Wages, salaries, and commissions

                                                                                                           Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                   independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                         Contributions to employee benefit plans

                                                                                                              Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                      cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                            *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                           Case 10-15445-RGM                   Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                               Desc Main
                                                                                                                                                          Document Page 15 of 50
                                                                                                  B6E (Official Form 6E) (04/10) - Cont.


                                                                                                                Gerson O. Cruz
                                                                                                        In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                Debtor                                                                            (if known)




                                                                                                         Certain farmers and fishermen
                                                                                                       Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                         Deposits by individuals
                                                                                                       Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                   that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                         Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                       Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                         Commitments to Maintain the Capital of an Insured Depository Institution
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                      Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                   Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                   U.S.C. § 507 (a)(9).



                                                                                                         Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                    * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                    adjustment.




                                                                                                                                                             0 continuation sheets attached
                                                                                                                                                            ____
                                                                                                           Case 10-15445-RGM                         Doc 1                                Filed 06/28/10 Entered 06/28/10 18:02:18                                                   Desc Main
                                                                                                                                                                                         Document Page 16 of 50
                                                                                                  B6F (Official Form 6F) (12/07)

                                                                                                           Gerson O. Cruz
                                                                                                   In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                              (If known)

                                                                                                        SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                   against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                   useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                   of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                   1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                   appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                   community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                             If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                   "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                             Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                   Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                   Related Data.
                                                                                                            Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                    ORCOMMUNITY




                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                                       CODEBTOR




                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                              CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                                               MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
                                                                                                             INCLUDING ZIP CODE,                                                                                                                                                      CLAIM
                                                                                                            AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                              (See instructions above.)
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  ACCOUNT NO.         7516                                                               Incurred: 07/04
                                                                                                  BANK OF AMERICA                                                                        Consideration: Credit card debt
                                                                                                  PO BOX 1598                                                                                                                                                                                 329.00
                                                                                                  NORFOLK, VA 23501



                                                                                                  ACCOUNT NO.         11751283                                                           Incurred: 08/09
                                                                                                  PROFESSIONAL ACCOUNT                                                                   PLACED FOR COLLECTION
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                         205.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                  ACCOUNT NO.         9972461                                                            Incurred: 02/08
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                         105.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                  ACCOUNT NO.         11354233                                                           Incurred: 04/09
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                         100.00
                                                                                                  MILWAUKEE, WI 53203




                                                                                                        2
                                                                                                      _______continuation sheets attached                                                                                               Subtotal                                 $            739.00
                                                                                                                                                                                                                      Total                                                      $
                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                   (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                         Summary of Certain Liabilities and Related Data.)
                                                                                                          Case 10-15445-RGM                     Doc 1                                Filed 06/28/10 Entered 06/28/10 18:02:18                                                       Desc Main
                                                                                                                                                                                    Document Page 17 of 50
                                                                                                  B6F (Official Form 6F) (12/07) - Cont.


                                                                                                            Gerson O. Cruz
                                                                                                    In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                     Debtor                                                                                                                             (If known)


                                                                                                       SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                            (Continuation Sheet)




                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                               ORCOMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                                  CODEBTOR
                                                                                                             CREDITOR’S NAME,
                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                         DISPUTED
                                                                                                              MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                            INCLUDING ZIP CODE,
                                                                                                                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                           AND ACCOUNT NUMBER
                                                                                                             (See instructions above.)


                                                                                                  ACCOUNT NO.      11400402                                                          Incurred: 05/09
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                       100.00
                                                                                                  MILWAUKEE, WI 53203
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  ACCOUNT NO.      11260225                                                          Incurred: 04/09
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        65.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                  ACCOUNT NO.      9775422                                                           Incurred: 12/07
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        65.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                  ACCOUNT NO.      9972459                                                           Incurred: 02/08
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        65.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                   ACCOUNT NO.     11354232                                                          Incurred: 04/09
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        60.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                             1 of _____continuation
                                                                                                  Sheet no. _____    2                sheets attached                                                                                     Subtotal                                  $       355.00
                                                                                                  to Schedule of Creditors Holding Unsecured
                                                                                                  Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                          Case 10-15445-RGM                     Doc 1                                Filed 06/28/10 Entered 06/28/10 18:02:18                                                       Desc Main
                                                                                                                                                                                    Document Page 18 of 50
                                                                                                  B6F (Official Form 6F) (12/07) - Cont.


                                                                                                            Gerson O. Cruz
                                                                                                    In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                     Debtor                                                                                                                             (If known)


                                                                                                       SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                            (Continuation Sheet)




                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                               ORCOMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                                  CODEBTOR
                                                                                                             CREDITOR’S NAME,
                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                         DISPUTED
                                                                                                              MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                            INCLUDING ZIP CODE,
                                                                                                                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                           AND ACCOUNT NUMBER
                                                                                                             (See instructions above.)


                                                                                                  ACCOUNT NO.      11400400                                                          Incurred: 05/09
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        60.00
                                                                                                  MILWAUKEE, WI 53203
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  ACCOUNT NO.      11295325                                                          Incurred: 02/08
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        55.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                  ACCOUNT NO.      9972460                                                           Incurred: 04/09
                                                                                                  PROFESSIONAL ACCOUNT
                                                                                                  633 W WISCONSIN AVE                                                                                                                                                                        55.00
                                                                                                  MILWAUKEE, WI 53203



                                                                                                  ACCOUNT NO.




                                                                                                   ACCOUNT NO.




                                                                                                             2 of _____continuation
                                                                                                  Sheet no. _____    2                sheets attached                                                                                     Subtotal                                  $       170.00
                                                                                                  to Schedule of Creditors Holding Unsecured
                                                                                                  Nonpriority Claims                                                                                                                          Total                                 $     1,264.00
                                                                                                                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 10-15445-RGM                   Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                Desc Main
                                                                                                  B6G (Official Form 6G) (12/07)
                                                                                                                                                           Document Page 19 of 50

                                                                                                          Gerson O. Cruz                                                             Case No.
                                                                                                  In re
                                                                                                                            Debtor                                                                               (if known)

                                                                                                          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                    State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                    names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                    contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                    guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                            OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE
                                                                                                          Case 10-15445-RGM                   Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                               Desc Main
                                                                                                  B6H (Official Form 6H) (12/07)                         Document Page 20 of 50



                                                                                                  In re   Gerson O. Cruz                                                            Case No.
                                                                                                                           Debtor                                                                              (if known)


                                                                                                                                              SCHEDULE H - CODEBTORS
                                                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                  debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                  property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                  Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                  name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                  commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                  commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                  parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                  Fed. Bankr. P. 1007(m).
                                                                                                      Check this box if debtor has no codebtors.



                                                                                                                NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE
                                                                                                               Case 10-15445-RGM             Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                             Desc Main
                                                                                                                                                        Document Page 21 of 50
                                                                                                  B6I (Official Form 6I) (12/07)


                                                                                                               Gerson O. Cruz
                                                                                                  In re                                                                                       Case
                                                                                                                         Debtor                                                                                  (if known)
                                                                                                                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                  The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                                  filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                                  calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                   Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                   Status:   Separated             RELATIONSHIP(S): son, son, son                                                    AGE(S): 10, 16, 17
                                                                                                   Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                   Occupation                        Unemployed
                                                                                                   Name of Employer                  Receiving Worker's Compensation
                                                                                                   How long employed                 02/2010
                                                                                                   Address of Employer                                                                                              N.A.


                                                                                                  INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                                  1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                             $ _____________                  N.A.
                                                                                                                                                                                                                                    $ _____________
                                                                                                        (Prorate if not paid monthly.)
                                                                                                  2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                             $ _____________                  N.A.
                                                                                                                                                                                                                                    $ _____________

                                                                                                  3. SUBTOTAL                                                                                                          0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          a.   Payroll taxes and social security
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          b.   Insurance
                                                                                                          c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          d.   Other (Specify:___________________________________________________________)                             0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                  0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     (Attach detailed statement)
                                                                                                  8. Income from real property                                                                                         0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     debtor’s use or that of dependents listed above.
                                                                                                  11. Social security or other government assistance
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     ( Specify)
                                                                                                  12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  13. Other monthly incomeWorker's Compensation                                                                    2,572.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                      (Specify)                                                                                                        0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                   2,572.00          $ _____________
                                                                                                                                                                                                                                              N.A.
                                                                                                  15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 2,572.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                                 2,572.00
                                                                                                      from line 15)
                                                                                                                                                                                         (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                         on Statistical Summary of Certain Liabilities and Related Data)

                                                                                                  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                           None
                                                                                                           CaseForm
                                                                                                     B6J (Official 10-15445-RGM
                                                                                                                      6J) (12/07)               Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                             Desc Main
                                                                                                                                                           Document Page 22 of 50
                                                                                                   In re Gerson O. Cruz                                                                      Case No.
                                                                                                                       Debtor                                                                                  (if known)

                                                                                                            SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                               Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                    filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                    calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                          Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                          labeled “Spouse.”


                                                                                                  1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                                  0.00
                                                                                                             a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                             b. Is property insurance included?                 Yes ________ No ________
                                                                                                  2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                                400.00
                                                                                                                 b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                                120.00
                                                                                                                 c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                                 65.00
                                                                                                                 d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                                800.00
                                                                                                  5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                                 20.00
                                                                                                  6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                                 20.00
                                                                                                  7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                                420.00
                                                                                                  9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                                                                                                                                                100.00
                                                                                                  10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                             a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                                 50.00
                                                                                                             c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                                420.00
                                                                                                             e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                  (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                             a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                              2,415.00
                                                                                                  if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                                  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                            None


                                                                                                  20. STATEMENT OF MONTHLY NET INCOME
                                                                                                          a. Average monthly income from Line 15 of Schedule I                                                                             2,572.00
                                                                                                                                                                                                                                    $ ______________
                                                                                                          b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                           2,415.00
                                                                                                          c. Monthly net income (a. minus b.)                                                                                                157.00
                                                                                                                                                                                                                                    $ ______________
                                                                                                          Case 10-15445-RGM                      Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18                            Desc Main
                                                                                                                                                         Document Page 23 of 50
                                                                                                        B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                         Eastern District of Virginia
                                                                                                                    Gerson O. Cruz
                                                                                                       In re                                                                                        Case No.
                                                                                                                                                         Debtor
                                                                                                                                                                                                    Chapter        7

                                                                                                                                                       SUMMARY OF SCHEDULES
                                                                                                  Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                  I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                  claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                  Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                             AMOUNTS SCHEDULED
                                                                                                                                                 ATTACHED
                                                                                                    NAME OF SCHEDULE                              (YES/NO)        NO. OF SHEETS            ASSETS               LIABILITIES            OTHER
                                                                                                    A – Real Property
                                                                                                                                                 YES                     1            $   475,000.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                    B – Personal Property
                                                                                                                                                 YES                     3            $     54,808.00

                                                                                                    C – Property Claimed
                                                                                                        as exempt                                YES                     1

                                                                                                    D – Creditors Holding
                                                                                                       Secured Claims                            YES                     2                                  $     602,936.00

                                                                                                    E - Creditors Holding Unsecured
                                                                                                        Priority Claims                          YES                     2                                  $           0.00
                                                                                                       (Total of Claims on Schedule E)
                                                                                                    F - Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                       YES                     3                                  $       1,264.00

                                                                                                    G - Executory Contracts and
                                                                                                        Unexpired Leases                         YES                     1

                                                                                                    H - Codebtors
                                                                                                                                                 YES                     1

                                                                                                    I - Current Income of
                                                                                                        Individual Debtor(s)                     YES                     1                                                        $     2,572.00

                                                                                                    J - Current Expenditures of Individual
                                                                                                        Debtors(s)                               YES                     1                                                        $     2,415.00


                                                                                                                                         TOTAL                           16           $   529,808.00        $     604,200.00
                                                                                                    Official
                                                                                                     CaseForm   6 - Statistical Summary
                                                                                                             10-15445-RGM          Doc 1(12/07)
                                                                                                                                            Filed              06/28/10 Entered 06/28/10 18:02:18                      Desc Main
                                                                                                                                                          Document Page 24 of 50
                                                                                                                                        United States Bankruptcy Court
                                                                                                                                                          Eastern District of Virginia

                                                                                                               In re       Gerson O. Cruz                                                      Case No.
                                                                                                                                                         Debtor
                                                                                                                                                                                               Chapter       7

                                                                                                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                       If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                  §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                  information here.

                                                                                                  This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                  Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                     Type of Liability                                                         Amount

                                                                                                     Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                        0.00
                                                                                                     Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                     Schedule E)
                                                                                                                                                                                        0.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                     Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                     Schedule E) (whether disputed or undisputed)                                       0.00
                                                                                                     Student Loan Obligations (from Schedule F)                                $        0.00
                                                                                                     Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                     Obligations Not Reported on Schedule E                                             0.00
                                                                                                     Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                               $        0.00
                                                                                                     (from Schedule F)

                                                                                                                                                                      TOTAL    $        0.00


                                                                                                    State the Following:
                                                                                                     Average Income (from Schedule I, Line 16)                                 $    2,572.00
                                                                                                     Average Expenses (from Schedule J, Line 18)                               $    2,415.00
                                                                                                     Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                     22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                    3,989.99



                                                                                                    State the Following:
                                                                                                     1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                     ANY” column
                                                                                                                                                                                               $    82,936.00

                                                                                                     2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                     PRIORITY” column.
                                                                                                                                                                                        0.00

                                                                                                     3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                         $
                                                                                                     PRIORITY, IF ANY” column                                                                             0.00

                                                                                                     4. Total from Schedule F                                                                  $      1,264.00
                                                                                                     5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $    84,200.00
                                                                                                                 Case
                                                                                                        B6 (Official Form10-15445-RGM
                                                                                                                          6 - Declaration) (12/07) Doc                                 1      Filed 06/28/10 Entered 06/28/10 18:02:18                                                                   Desc Main
                                                                                                                                                                                             Document Page 25 of 50
                                                                                                                  Gerson O. Cruz
                                                                                                        In re                                                                                                                                        Case No.
                                                                                                                                               Debtor                                                                                                                                   (If known)

                                                                                                                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                       DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                            18 sheets, and that they
                                                                                                                   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                        are true and correct to the best of my knowledge, information, and belief.



                                                                                                         Date       06/29/2010                                                                                                Signature:          /s/ Gerson O. Cruz
                                                                                                                                                                                                                                                                                 Debtor:


                                                                                                         Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                        (Joint Debtor, if any)

                                                                                                                                                                                                                                     [If joint case, both spouses must sign.]
                                                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                   compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                   110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                   by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                   accepting any fee from the debtor, as required by that section.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                   Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                   of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                    If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                    who signs this document.




                                                                                                    Address

                                                                                                    X
                                                                                                                         Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                  18 U.S.C. § 156.
                                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                        I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                  or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                  in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                  shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                  Date                                                                                                                 Signature:


                                                                                                                                                                                                                                        [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                   -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                     B7Case
                                                                                                        (Official10-15445-RGM
                                                                                                                  Form 7) (04/10)         Doc 1
                                                                                                                                             Filed 06/28/10 Entered 06/28/10 18:02:18                                          Desc Main
                                                                                                                                            Document      Page 26 of 50 COURT
                                                                                                                                     UNITED STATES BANKRUPTCY
                                                                                                                                              Eastern District of Virginia

                                                                                                  In Re Gerson O. Cruz                                                                                 Case No.
                                                                                                                                                                                                                        (if known)


                                                                                                                                            STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                  This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                        the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                        information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                        filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                        provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                        indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                        or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                        R. Bankr. P. 1007(m).

                                                                                                                  Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                        must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                        additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                        case number (if known), and the number of the question.

                                                                                                                                                                    DEFINITIONS

                                                                                                                   "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                        individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                        the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                        the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                        employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                        in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                   "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                        their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                        percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                        such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                  1. Income from employment or operation of business

                                                                                                                  State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                  the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                       None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                  two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                  the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                  of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                  under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                  spouses are separated and a joint petition is not filed.)

                                                                                                                          AMOUNT                                                 SOURCE

                                                                                                           2010

                                                                                                           2009                          Self-employed. has not received 1099.
                                                                                                                                         Not completed at this time.

                                                                                                           2008                          Self-employed. has not received 1099.
                                                                                                                                         Not completed at this time.
                                                                                                  Case 10-15445-RGM                     Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                    Desc Main
                                                                                                                                                   Document Page 27 of 50



                                                                                                             2.   Income other than from employment or operation of business

                                                                                                  None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                             of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                             particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                             12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                             separated and a joint petition is not filed.)

                                                                                                              AMOUNT                                                                SOURCE




                                                                                                             3. Payments to creditors
                                                                                                  None

                                                                                                             Complete a. or b., as appropriate, and c.
                                                                                                             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                             goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                             this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                             Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                             or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                                                                 PAYMENTS                                PAID                  OWING




                                                                                                  None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                             within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                             constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
                                                                                                             (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                             alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                  *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                                  NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                   AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
                                                                                                  Case 10-15445-RGM                Doc 1        Filed 06/28/10 Entered 06/28/10 18:02:18                                  Desc Main
                                                                                                                                               Document Page 28 of 50



                                                                                                  None

                                                                                                         c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                         for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                         and a joint petition is not filed.)


                                                                                                   NAME AND ADDRESS OF CREDITOR                             DATES OF                        AMOUNT PAID            AMOUNT STILL
                                                                                                    AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                                  OWING


                                                                                                         4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                  None   a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                         preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                         information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                         and a joint petition is not filed.)


                                                                                                   CAPTION OF SUIT               NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                  AND CASE NUMBER                                                           AGENCY AND LOCATION                          DISPOSITION


                                                                                                  None   b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                         one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                         13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                         unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND ADDRESS OF                                       DATE OF                                        DESCRIPTION AND
                                                                                                   PERSON FOR WHOSE BENEFIT                                    SEIZURE                                       VALUE OF PROPERTY
                                                                                                     PROPERTY WAS SEIZED


                                                                                                         5.   Repossessions, foreclosures and returns

                                                                                                  None         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                         lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                         (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                         both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                                DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                     ADDRESS OF                                FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                  CREDITOR OR SELLER                          TRANSFER OR RETURN
                                                                                                  Case 10-15445-RGM                 Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                  Desc Main
                                                                                                                                               Document Page 29 of 50



                                                                                                          6. Assignments and Receiverships

                                                                                                  None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                          the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                          assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                          joint petition is not filed.)


                                                                                                          NAME AND                                    DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                         ADDRESS OF                                                                                      ASSIGNMENT
                                                                                                           ASSIGNEE                                                                                     OR SETTLEMENT


                                                                                                  None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                          year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                          the spouses are separated and a joint petition is not filed.)


                                                                                                          NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                         ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                         CUSTODIAN                               & NUMBER
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                          7.   Gifts

                                                                                                  None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                          case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                          member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                          12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                          unless the spouses are separated and a joint petition is not filed.)


                                                                                                         NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                        ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                  PERSON OR ORGANIZATION


                                                                                                          8.   Losses

                                                                                                  None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                          commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                          chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                          separated and a joint petition is not filed.)


                                                                                                     DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                      AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                     OF PROPERTY                                   INSURANCE, GIVE PARTICULARS
                                                                                                  Case 10-15445-RGM                  Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                 Desc Main
                                                                                                                                                Document Page 30 of 50



                                                                                                            9.   Payments related to debt counseling or bankruptcy

                                                                                                  None           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                            for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                            bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                             NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                 OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                     OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                  Property and Estate Law, PLC                 06/29/2010                                      $1,800
                                                                                                  1950 Old Gallows Road, Suite 220
                                                                                                  Vienna, VA 22182

                                                                                                  DECAF                                        06/27/2010                                      Credit Counseling $40
                                                                                                  112 Goliad Street, Suite D
                                                                                                  Benbrook, TX 76126


                                                                                                            10. Other transfers

                                                                                                  None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                            of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                            of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                         RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                           VALUE RECEIVED


                                                                                                            b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                            to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                  None

                                                                                                         NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                     TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                    VALUE OF PROPERTY OR
                                                                                                                                                                                                 DEBTOR'S INTEREST IN PROPERTY
                                                                                                  Case 10-15445-RGM                  Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                                 Desc Main
                                                                                                                                                Document Page 31 of 50



                                                                                                           11. Closed financial accounts

                                                                                                  None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                           were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                           Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                           accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                           institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                           instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                           and a joint petition is not filed.)


                                                                                                           NAME AND                           TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                          ADDRESS OF                          DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                                          INSTITUTION                        AND AMOUNT OF FINAL BALANCE                                         OR CLOSING


                                                                                                           12. Safe deposit boxes

                                                                                                  None              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                           valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                           chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                           is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                      NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                           ADDRESS OF BANK                 THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                         OR OTHER DEPOSITORY                    OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                                           13. Setoffs

                                                                                                  None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                           information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                           and a joint petition is not filed.)


                                                                                                         NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                        OF                                      OF
                                                                                                                                                                      SETOFF                                  SETOFF

                                                                                                           14. Property held for another person

                                                                                                  None          List all property owned by another person that the debtor holds or controls.


                                                                                                             NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                          ADDRESS OF OWNER                        VALUE OF PROPERTY
                                                                                                  Case 10-15445-RGM                 Doc 1       Filed 06/28/10 Entered 06/28/10 18:02:18                               Desc Main
                                                                                                                                               Document Page 32 of 50



                                                                                                          15. Prior address of debtor
                                                                                                  None
                                                                                                                 If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                          premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                          joint petition is filed, report also any separate address of either spouse.


                                                                                                         ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY



                                                                                                          16. Spouses and Former Spouses
                                                                                                  None
                                                                                                              If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                          Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                          eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                          any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                       NAME


                                                                                                          17. Environmental Sites

                                                                                                          For the purpose of this question, the following definitions apply:
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                          "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                          releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                          other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                          wastes, or material.

                                                                                                                    "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                    presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                    "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                    hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                  None
                                                                                                          a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                          unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                          governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                          SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                         AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                          b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                          of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                  None

                                                                                                          SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                         AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW
                                                                                                  Case 10-15445-RGM                 Doc 1        Filed 06/28/10 Entered 06/28/10 18:02:18                                 Desc Main
                                                                                                                                                Document Page 33 of 50



                                                                                                          c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                          with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                  None    was a party to the proceeding, and the docket number.


                                                                                                           NAME AND ADDRESS                                DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                         OF GOVERNMENTAL UNIT


                                                                                                          18. Nature, location and name of business

                                                                                                  None    a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                          businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                          managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                          which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                          preceding the commencement of this case.

                                                                                                          If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                          voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                          voting or equity securities within the six years immediately preceding the commencement of this case.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                   NAME           LAST FOUR DIGITS OF                     ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                                  SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                   OTHER INDIVIDUAL
                                                                                                                    TAXPAYER-I.D. NO.
                                                                                                                  (ITIN)/ COMPLETE EIN


                                                                                                          b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                          U.S.C. § 101.
                                                                                                  None

                                                                                                          NAME                                                                               ADDRESS




                                                                                                                      [Questions 19 - 25 are not applicable to this case]
                                                                                                                                            *    *    *    *   *    *
                                                                                                              Case 10-15445-RGM                              Doc 1          Filed 06/28/10 Entered 06/28/10 18:02:18                                                    Desc Main
                                                                                                                                                                           Document Page 34 of 50


                                                                                                               [If completed by an individual or individual and spouse]

                                                                                                               I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                               thereto and that they are true and correct.
                                                                                                              06/29/2010                                                                                     /s/ Gerson O. Cruz
                                                                                                  Date                                                                            Signature
                                                                                                                                                                                  of Debtor                  GERSON O. CRUZ




                                                                                                                                                                          0 continuation sheets attached
                                                                                                                                                                        _____


                                                                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                          DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                  compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                  have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                  in that section.




                                                                                                  Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                  partner who signs this document.




                                                                                                  Address

                                                                                                  X
                                                                                                  Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                  not an individual:

                                                                                                  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                  or imprisonment or both. 18 U.S.C. §156.
                                                                                                            Case 10-15445-RGM             Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18              Desc Main
                                                                                                  B8 (Official Form 8) (12/08)                    Document Page 35 of 50

                                                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                                                                                                  Eastern District of Virginia
                                                                                                          Gerson O. Cruz
                                                                                                  In re                                                          ,         Case No.
                                                                                                                                 Debtor                                                      Chapter 7



                                                                                                                           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                   PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                   secured by property of the estate. Attach additional pages if necessary.)


                                                                                                     Property No. 1
                                                                                                    Creditor's Name:                                                  Describe Property Securing Debt:
                                                                                                     GMAC MORTGAGE                                                     Single Family House
                                                                                                     3451 HAMMOND AVE
                                                                                                     WATERLOO, IA 50702

                                                                                                     Property will be (check one):
                                                                                                               Surrendered                            Retained

                                                                                                     If retaining the property, I intend to (check at least one):
                                                                                                                Redeem the property
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                Reaffirm the debt
                                                                                                                Other. Explain _______________________________________________(for example, avoid lien
                                                                                                     using 11 U.S.C. §522(f)).

                                                                                                     Property is (check one):
                                                                                                                Claimed as exempt                                    Not claimed as exempt



                                                                                                     Property No. 2 (if necessary)
                                                                                                    Creditor's Name:                                                  Describe Property Securing Debt:
                                                                                                     CHASE                                                             2009 Jeep Wrangler 15,000 miles
                                                                                                     201 N WALNUT ST # DE1-10
                                                                                                     WILMINGTON, DE 19801

                                                                                                     Property will be (check one):
                                                                                                               Surrendered                            Retained

                                                                                                     If retaining the property, I intend to (check at least one):
                                                                                                                Redeem the property
                                                                                                                Reaffirm the debt
                                                                                                                Other. Explain _______________________________________________(for
                                                                                                                                 retain, keep current                              example, avoid lien
                                                                                                     using 11 U.S.C. §522(f)).

                                                                                                     Property is (check one):
                                                                                                                Claimed as exempt                                    Not claimed as exempt
                                                                                                            Case 10-15445-RGM                  Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18               Desc Main
                                                                                                  B8 (Official Form 8) (12/08)                         Document Page 36 of 50                                      Page 2

                                                                                                      PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                      Each unexpired lease. Attach additional pages if necessary.)



                                                                                                        Property No. 1           NO Leased Property
                                                                                                       Lessor's Name:                                  Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                            to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                               YES              NO


                                                                                                        Property No. 2 (if necessary)
                                                                                                       Lessor's Name:                                  Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                            to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                               YES              NO


                                                                                                        Property No. 3 (if necessary)
                                                                                                       Lessor's Name:                                  Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                            to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                               YES              NO

                                                                                                        1
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                       ______ continuation sheets attached (if any)

                                                                                                      I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                      Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                            06/29/2010
                                                                                                      Date:_____________________________                           /s/ Gerson O. Cruz
                                                                                                                                                                Signature of Debtor




                                                                                                                                                                Signature of Joint Debtor
                                                                                                               Case 10-15445-RGM                       Doc 1      Filed 06/28/10 Entered 06/28/10 18:02:18                         Desc Main
                                                                                                  B8 (Official Form8)(12/08)                                     Document Page 37 of 50      Page 3


                                                                                                                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                                      (Continuation Sheet)
                                                                                                     PART A - Continuation




                                                                                                       Property No: 3

                                                                                                       Creditor's Name:                                                              Describe Property Securing Debt:
                                                                                                        AMERICAN HONDA FINANCE                                                        2006 Honda Ridgeline 65,000 miles
                                                                                                        8601 MCALPINE PARK DR ST
                                                                                                        CHARLOTTE, NC 28211

                                                                                                            Property will be    (check one):
                                                                                                                     Surrendered                                        Retained

                                                                                                            If retaining the property, I intend to    (check at least one):
                                                                                                                     Redeem the property
                                                                                                                     Reaffirm the debt
                                                                                                                     Other. Explain      retain, keep current                                                           (for example, avoid lien
                                                                                                            using 11 U.S.C.§522(f)).

                                                                                                            Property is (check one):
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                   Claimed as exempt                                               Not claimed as exempt




                                                                                                       Property No: 4

                                                                                                       Creditor's Name:                                                              Describe Property Securing Debt:
                                                                                                        BMW FIN                                                                       2006 BMW 3 Series 56,000 miles
                                                                                                        5515 PARK CENTER PO # 2047374
                                                                                                        DUBLIN, OH 43017

                                                                                                            Property will be    (check one):
                                                                                                                     Surrendered                                        Retained

                                                                                                            If retaining the property, I intend to    (check at least one):
                                                                                                                     Redeem the property
                                                                                                                     Reaffirm the debt
                                                                                                                     Other. Explain      retain, keep current                                                           (for example, avoid lien
                                                                                                            using 11 U.S.C.§522(f)).

                                                                                                            Property is (check one):
                                                                                                                   Claimed as exempt                                               Not claimed as exempt
                                                                                                          Case 10-15445-RGM                   Doc 1      Filed 06/28/10 Entered 06/28/10 18:02:18                                Desc Main
                                                                                                                                                        Document Page 38 of 50
                                                                                                  B 201B (Form 201B) (12/09)
                                                                                                                                        United States Bankruptcy Court
                                                                                                                                                    Eastern District of Virginia



                                                                                                  In re   Gerson O. Cruz                                                                       Case No.
                                                                                                                            Debtor                                                                                    (If known)



                                                                                                                          CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                              UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                    Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                            I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                   debtor the attached notice, as required by § 342(b) of the Bankruptcy Code




                                                                                                    Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                    Address:                                                                           preparer is not an individual, state the Social Security
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                                                                                       number of the officer, principal, responsible person,
                                                                                                                                                                                       or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                       (Required by 11 U.S.C. § 110.)

                                                                                                    X
                                                                                                    Signature of Bankruptcy Petition Preparer or officer,
                                                                                                    Principal, responsible person, or partner whose Social
                                                                                                    Security number is provided above.




                                                                                                                                                             Certification of the Debtor
                                                                                                             I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                   Code

                                                                                                    Gerson O. Cruz                                                                     X   /s/ Gerson O. Cruz                      06/29/2010
                                                                                                    Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                    Case No. (if known)                                                                X
                                                                                                                                                                                           Signature of Joint Debtor, (if any)           Date




                                                                                                    Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                    Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                    NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                    the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                    petition preparers on page 3 of Form B1 also include this certification.
Case 10-15445-RGM   Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18   Desc Main
                            Document Page 39 of 50


           AMERICAN HONDA FINANCE
           8601 MCALPINE PARK DR ST
           CHARLOTTE, NC 28211


           BANK OF AMERICA
           PO BOX 1598
           NORFOLK, VA 23501


           BMW FIN
           5515 PARK CENTER       PO # 2047374
           DUBLIN, OH 43017


           CHASE
           201 N WALNUT ST # DE1-10
           WILMINGTON, DE 19801


           GMAC MORTGAGE
           3451 HAMMOND AVE
           WATERLOO, IA 50702


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203
Case 10-15445-RGM   Doc 1    Filed 06/28/10 Entered 06/28/10 18:02:18   Desc Main
                            Document Page 40 of 50


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203


           PROFESSIONAL ACCOUNT
           633 W WISCONSIN AVE
           MILWAUKEE, WI 53203
                                                                                                             Case 10-15445-RGM                                 Doc 1      Filed 06/28/10 Entered 06/28/10 18:02:18                            Desc Main
                                                                                                                                                                         Document Page 41 of 50
                                                                                                  B203
                                                                                                  12/94
                                                                                                                                                    United States Bankruptcy Court
                                                                                                                                                                         Eastern District of Virginia
                                                                                                          In re Gerson O. Cruz                                                                            Case No. ____________________
                                                                                                                                                                                                          Chapter           7
                                                                                                                                                                                                                       ____________________
                                                                                                          Debtor(s)
                                                                                                                               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                  1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                          and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                          rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                          For legal services, I have agreed to accept .............................                                1,800.00
                                                                                                                                                                                                        .... $ ______________

                                                                                                          Prior to the filing of this statement I have received ..........                                                 0.00
                                                                                                                                                                                             ................... $ ______________

                                                                                                          Balance Due ......................................                                                            1,800.00
                                                                                                                                                                                             .................... $ ______________

                                                                                                  2.      The source of compensation paid to me was:

                                                                                                                                Debtor                         Other (specify)
                                                                                                  3.      The source of compensation to be paid to me is:
                                                                                                                                Debtor                         Other (specify)

                                                                                                  4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                                  associates of my law firm.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                             I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                  of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                  5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                           b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                                                           d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;




                                                                                                   6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                                      CERTIFICATION

                                                                                                                   I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                debtor(s) in the bankruptcy proceeding.

                                                                                                                   06/29/2010                                                               /s/ Alisa Lachow-Thurston
                                                                                                                ____________________________________                                      __________________________________________________
                                                                                                                               Date                                                                           Signature of Attorney
                                                                                                                                                                                             Property & Estate Law
                                                                                                                                                                                           __________________________________________________
                                                                                                                                                                                                                Name of law firm
                                                                                                          Case 10-15445-RGM                     Doc 1      Filed 06/28/10 Entered 06/28/10 18:02:18                     Desc Main
                                                                                                  B22A (Official Form 22A) (Chapter 7) (4/10)
                                                                                                                                                          Document Page 42 of 50




                                                                                                                                                                       According to the information required to be entered on this statement
                                                                                                                                                                       (check one box as directed in Part I, III, or VI of this statement):
                                                                                                  In re   Gerson O. Cruz                                                              The presumption arises.
                                                                                                                           Debtor(s)                                                  The presumption does not arise.
                                                                                                                                                                                      The presumption is temporarily inapplicable.
                                                                                                  Case Number:
                                                                                                                        (If known)

                                                                                                                      CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                                AND MEANS-TEST CALCULATION
                                                                                                   In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
                                                                                                   jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C
                                                                                                   applies, each joint filer must complete a separate statement.

                                                                                                           Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
                                                                                                          If you are a disabled veteran described in the Veteran s Declaration in this Part I, (1) check the box at the beginning of the
                                                                                                          Veteran s Declaration, (2) check the box for The presumption does not arise at the top of this statement, and (3) complete
                                                                                                          the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                     1A
                                                                                                              Veteran s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
                                                                                                          defined in 11 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

                                                                                                          If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
                                                                                                          complete any of the remaining parts of this statement.
                                                                                                     1B
                                                                                                             Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                           Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                           of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                           § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                           (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                           time of active duty or homeland defense activity and for 540 days thereafter (the exclusion period ). If you qualify for
                                                                                                           this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                           Reservists and National Guard Members below, (2) check the box for The presumption is temporarily inapplicable at the
                                                                                                           top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                           to complete the balance of this form, but you must complete the form no later than 14 days after the date on
                                                                                                           which your exclusion period ends, unless the time for filing a motion raising the means test presumption
                                                                                                           expires in your case before your exclusion period ends.


                                                                                                     1C             Declaration of Reservists and National Guard Members. By checking this box and making the appropriate
                                                                                                           entries below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                           component of the Armed Forces or the National Guard

                                                                                                                        a.                  I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                                 I remain on active duty /or/
                                                                                                                                                 I was released from active duty on ________________, which is less than 540 days before
                                                                                                                        this bankruptcy case was filed;
                                                                                                                                       OR

                                                                                                                        b.                  I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                                  I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                        _______________, which is less than 540 days before this bankruptcy case was filed.
                                                                                                  B22A (Official Form 22A) (Chapter
                                                                                                       Case 10-15445-RGM        Doc7)1(4/10)
                                                                                                                                        Filed- 06/28/10
                                                                                                                                               Cont.                      Entered 06/28/10 18:02:18             Desc Main               2
                                                                                                                                                   Document            Page 43 of 50




                                                                                                             Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                                                        Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                        a.        Unmarried. Complete only Column A ( Debtor s Income ) for Lines 3-11.

                                                                                                        b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                        penalty of perjury: My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
                                                                                                        living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.
                                                                                                        Complete only Column A ( Debtor s Income ) for Lines 3-11.

                                                                                                    2   c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                        Column A ( Debtor s Income ) and Column B ( Spouse s Income ) for Lines 3-11.

                                                                                                        d.     Married, filing jointly. Complete both Column A ( Debtor s Income ) and Column B ("Spouse s Income")
                                                                                                        for Lines 3-11.

                                                                                                        All figures must reflect average monthly income received from all sources, derived during the       Column A       Column B
                                                                                                        six calendar months prior to filing the bankruptcy case, ending on the last day of the month        Debtor s       Spouse s
                                                                                                        before the filing. If the amount of monthly income varied during the six months, you must            Income         Income
                                                                                                        divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                    3   Gross wages, salary, tips, bonuses, overtime, commissions.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                                                                                                                        $    2,906.66 $          N.A.
                                                                                                        Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                        Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
                                                                                                        than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                                        attachment. Do not enter a number less than zero. Do not include any part of the
                                                                                                    4   business expenses entered on Line b as a deduction in Part V.

                                                                                                             a.       Gross receipts                                     $                       0.00
                                                                                                             b.       Ordinary and necessary business expenses           $                       0.00
                                                                                                             c.       Business income                                    Subtract Line b from Line a
                                                                                                                                                                                                        $       0.00 $           N.A.
                                                                                                        Rent and other real property income. Subtract Line b from Line a and enter the
                                                                                                        difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
                                                                                                        not include any part of the operating expenses entered on Line b as a deduction in
                                                                                                        Part V.
                                                                                                   5
                                                                                                             a.       Gross receipts                                     $                       0.00
                                                                                                             b.       Ordinary and necessary operating expenses          $                       0.00
                                                                                                             c.       Rent and other real property income                Subtract Line b from Line a    $       0.00 $           N.A.

                                                                                                   6    Interest, dividends and royalties.                                                              $       0.00 $           N.A.
                                                                                                   7    Pension and retirement income.                                                                  $       0.00 $           N.A.
                                                                                                        Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                        expenses of the debtor or the debtor s dependents, including child support paid for
                                                                                                   8    that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                                        by your spouse if Column B is completed.                                                        $       0.00 $           N.A.
                                                                                                        Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                        However, if you contend that unemployment compensation received by you or your spouse
                                                                                                        was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                   9    Column A or B, but instead state the amount in the space below:

                                                                                                         Unemployment compensation claimed to be                         0.00                 N.A.
                                                                                                         a benefit under the Social Security Act            Debtor $            Spouse $                        0.00             N.A.
                                                                                                                                                                                                        $              $
                                                                                                        Case 10-15445-RGM               Doc 1      Filed 06/28/10 Entered 06/28/10 18:02:18                     Desc Main                3
                                                                                                  B22A (Official Form 22A) (Chapter 7) (4/10) - Cont.
                                                                                                                                                  Document Page 44 of 50


                                                                                                        Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                        sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                        paid by your spouse if Column B is completed, but include all other payments of
                                                                                                        alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                                  10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                        victim of international or domestic terrorism.
                                                                                                          a.                                                                        $     1,083.33
                                                                                                          b.                                                                        $         0.00
                                                                                                           Total and enter on Line 10                                                                    $   1,083.33    $       N.A.
                                                                                                        Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
                                                                                                  11    Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
                                                                                                        total(s).                                                                                        $               $
                                                                                                                                                                                                             3,989.99            N.A.
                                                                                                        Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                                  12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                        completed, enter the amount from Line 11, Column A.                                              $                    3,989.99
                                                                                                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                                  13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the
                                                                                                        number 12 and enter the result.                                                                              $       47,879.88
                                                                                                        Applicable median family income. Enter the median family income for the applicable state and
                                                                                                  14    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                                        the bankruptcy court.)
                                                                                                                                              Virginia
                                                                                                        a. Enter debtor s state of residence: _______________                                          4
                                                                                                                                                                   b. Enter debtor s household size: __________     $
                                                                                                                                                                                                                             85,633.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                        Application of Section 707(b)(7).       Check the applicable box and proceed as directed.

                                                                                                               The amount on Line 13 is less than or equal to the amount on Line 14. Check the The presumption does
                                                                                                  15           not arise box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

                                                                                                               The amount on Line 13 is more than the amount on Line 14.            Complete the remaining parts of this statement.


                                                                                                               Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).


                                                                                                           Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                                                  16    Enter the amount from Line 12.                                                                              $            N.A.
                                                                                                        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income
                                                                                                        listed in Line 11, Column B that was NOT paid on a regular basis for the household expenses of the
                                                                                                        debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B
                                                                                                        income (such as payment of the spouse's tax liability or the spouse's support of persons other than the
                                                                                                        debtor or the debtor's dependents) and the amount of income devoted to each purpose. If necessary,
                                                                                                        list additional adjustments on a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                                  17
                                                                                                          a.                                                                        $
                                                                                                          b.                                                                        $
                                                                                                          c.                                                                        $

                                                                                                        Total and enter on Line 17.                                                                                 $            N.A.
                                                                                                  18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              N.A.
                                                                                                                                                                                                                    $

                                                                                                                          Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                        National Standards: food, clothing and items. Enter in Line 19A the Total amount from IRS
                                                                                                  19A   National Standards for Food, Clothing and Other Items for the applicable household size. (This
                                                                                                        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                  $            N.A.
                                                                                                       Case 10-15445-RGM
                                                                                                  B22A (Official                Doc7)1(4/10)
                                                                                                                 Form 22A) (Chapter     Filed- 06/28/10
                                                                                                                                               Cont.                  Entered 06/28/10 18:02:18                   Desc Main
                                                                                                                                                  Document         Page 45 of 50                                                     4




                                                                                                        National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                                        Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                                        for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                                        clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                                        under 65 years of age, and enter in Line b2 the number of members of your household who are 65
                                                                                                        years or older. (The total number of household members must be the same as the number stated in
                                                                                                        Line 14b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and
                                                                                                        enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members
                                                                                                  19B   65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount,
                                                                                                        and enter the result in Line 19B.

                                                                                                         Household members under 65 years of age            Household members 65 years of age or older

                                                                                                          a1.      Allowance per member             N.A.     a2.    Allowance per member                N.A.
                                                                                                          b1.      Number of members                 N.A.    b2.    Number of members
                                                                                                          c1.      Subtotal                         N.A.     c2.    Subtotal                            N.A.        $         N.A.
                                                                                                        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
                                                                                                  20A   IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household
                                                                                                        size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)     $          N.A.

                                                                                                        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below,
                                                                                                        the amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and
                                                                                                        household size (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                        court); enter on Line b the total of the Average Monthly Payments for any debts secured by your home,
                                                                                                        as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  20B   amount less than zero.
                                                                                                        a.       IRS Housing and Utilities Standards; mortgage/rental expense    $                         N.A.
                                                                                                                 Average Monthly Payment for any debts secured by
                                                                                                        b.
                                                                                                                 your home, if any, as stated in Line 42                         $                         N.A.
                                                                                                        c.       Net mortgage/rental expense                                     Subtract Line b from Line a       $          N.A.

                                                                                                        Local Standards: housing and utilities; adjustment. If you contend that the process set
                                                                                                        out in Lines 20A and 20B does not accurately compute the allowance to which you are entitled under
                                                                                                        the IRS Housing and Utilities Standards, enter any additional amount to which you contend you are
                                                                                                        entitled, and state the basis for your contention in the space below:
                                                                                                   21


                                                                                                                                                                                                                   $          N.A.
                                                                                                        Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                                        You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                                        operating a vehicle and regardless of whether you use public transportation.
                                                                                                        Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                                        expenses are included as a contribution to your household expenses in Line 8.
                                                                                                  22A        0      1    2 or more.
                                                                                                        If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                        Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from
                                                                                                        IRS Local Standards: Transportation for the applicable number of vehicles in the applicable
                                                                                                        Metropolitan Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/
                                                                                                        or from the clerk of the bankruptcy court.)                                                                $          N.A.

                                                                                                        Local Standards: transportation; additional public transportation expense.
                                                                                                        If you pay the operating expenses for a vehicle and also use public transportation, and you contend
                                                                                                  22B   that you are entitled to an additional deduction for your public transportation expenses, enter on Line
                                                                                                        22B the "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is
                                                                                                        available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                $          N.A.
                                                                                                       Case 10-15445-RGM               Doc 1     Filed 06/28/10 Entered 06/28/10 18:02:18                        Desc Main          5
                                                                                                  B22A (Official Form 22A) (Chapter 7) (4/10) - Cont.
                                                                                                                                                Document Page 46 of 50


                                                                                                       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the
                                                                                                       number of vehicles for which you claim an ownership/lease expense. (You may not claim an
                                                                                                       ownership/lease expense for more than two vehicles.)
                                                                                                            1         2 or more.
                                                                                                       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Transportation Standards:
                                                                                                       Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line
                                                                                                       b the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
                                                                                                  23   subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                                         a.      IRS Transportation Standards, Ownership Costs                   $                        N.A.
                                                                                                                 Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                         b.                                                                  $
                                                                                                                 as stated in Line 42                                                                     N.A.
                                                                                                         c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.
                                                                                                                                                                                                                    $        N.A.

                                                                                                       Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                       only if you checked the 2 or more Box in Line 23.
                                                                                                       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                                       that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
                                                                                                       from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                                  24
                                                                                                          a.      IRS Transportation Standards, Ownership Costs                      $                    N.A.
                                                                                                                  Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                          b.
                                                                                                                  as stated in Line 42                                               $                    N.A.
                                                                                                          c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.       $    N.A.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                                                  25   for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self em-
                                                                                                                                                                                                                      $
                                                                                                       ployment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                 N.A.
                                                                                                        Other Necessary Expenses: involuntary deductions for employment. Enter the total
                                                                                                        average monthly payroll deductions that are required for your employment, such as retirement
                                                                                                  26
                                                                                                        contributions, union dues, and uniform costs. Do not include discretionary amounts, such as
                                                                                                        voluntary 401(k) contributions.                                                                                 $    N.A.
                                                                                                        Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                                  27    actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                                                                                                                                                        $
                                                                                                        whole life or for any other form of insurance.                                                                       N.A.
                                                                                                        Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                                  28    you are required to pay pursuant to court order or administrative agency, such as spousal or child
                                                                                                        support payments. Do not include payments on past due obligations included in Line 44.                          $    N.A.
                                                                                                        Other Necessary Expenses: education for employment or for a physically or
                                                                                                        mentally challenged child. Enter the total average monthly amount that you actually expend for
                                                                                                  29    education that is a condition of employment and for education that is required for a physically or
                                                                                                        mentally challenged dependent child for whom no public education providing similar services is available.       $
                                                                                                                                                                                                                             N.A.
                                                                                                        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                                  30    expend on childcare such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                                        educational payments.                                                                                           $    N.A.
                                                                                                       Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                                  31   actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                                       that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                                       amount entered in Lin 19B. Do not include payments for health insurance or health savings
                                                                                                       accounts listed in Line 34.                                                                                      $    N.A.
                                                                                                        Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                                  32    amount that you actually pay for telecommunication services other than your basic home telephone and
                                                                                                        cell phone service such as pagers, call waiting, caller id, special long distance, or internet service to
                                                                                                        the extent necessary for your health and welfare or that of your dependents. Do not include any
                                                                                                        amount previously deducted.                                                                                     $    N.A.
                                                                                                  33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                              $    N.A.
                                                                                                       Case 10-15445-RGM
                                                                                                  B22A (Official                Doc7)1(4/10)
                                                                                                                 Form 22A) (Chapter     Filed- 06/28/10
                                                                                                                                               Cont.                               Entered 06/28/10 18:02:18                           Desc Main                  6
                                                                                                                                                          Document              Page 47 of 50



                                                                                                                         Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                                   Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                                        Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                                        monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                                        your spouse, or your dependents.

                                                                                                           a.       Health Insurance                                                                 $                            N.A.
                                                                                                           b.       Disability Insurance                                                             $                            N.A.
                                                                                                   34      c.       Health Savings Account                                                           $                            N.A.
                                                                                                                                                                                                                                            $              N.A.
                                                                                                           Total and enter on Line 34.

                                                                                                           If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                           space below:
                                                                                                           $             N.A.

                                                                                                        Continued contributions to the care of household or family members. Enter the total
                                                                                                   35   average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                                        support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                                        family who is unable to pay for such expenses.                                                                                      $
                                                                                                                                                                                                                                                           N.A.

                                                                                                        Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                                   36   expenses that you actually incurred to maintain the safety of your family under the Family Violence
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                        Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                                        be kept confidential by the court.                                                                                                  $              N.A.

                                                                                                        Home energy costs Enter the total average monthly amount, in excess of the allowance specified by
                                                                                                   37   IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                        provide your case trustee with documentation of your actual expenses, and you must
                                                                                                        demonstrate that the additional amount claimed is reasonable and necessary.                                                         $              N.A.

                                                                                                        Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                        expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                                   38   elementary or secondary school by your dependent children less than 18 years of age. You must
                                                                                                        provide your case trustee with documentation of your actual expenses and you must explain
                                                                                                        why the amount claimed is reasonable and necessary and not already accounted for in the IRS
                                                                                                        Standards.                                                                                                                          $              N.A.

                                                                                                        Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                                        food and clothing expenses exceed the combined allowances for food and clothing (apparel and services)
                                                                                                   39   in the IRS National Standards, not to exceed 5% of those combined allowances. (This information is
                                                                                                        available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate
                                                                                                        that the additional amount claimed is reasonable and necessary.                                                                     $              N.A.

                                                                                                        Continued charitable contributions. Enter the amount that you will continue to contribute in
                                                                                                   40
                                                                                                        the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170
                                                                                                        (c)(1)-(2)                                                                                                                          $              N.A.
                                                                                                   41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                         $              N.A.
                                                                                                         *Amount subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                       Case 10-15445-RGM                Doc 1     Filed 06/28/10 Entered 06/28/10 18:02:18                        Desc Main
                                                                                                  B22A (Official Form 22A) (Chapter 7) (4/10) - Cont.
                                                                                                                                                 Document Page 48 of 50
                                                                                                                                                                                                                                     7




                                                                                                                                      Subpart C: Deductions for Debt Payment

                                                                                                         Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                         property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                         Average Monthly Payment, and check whether the payment includes taxes or insurance. The Average
                                                                                                         Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60
                                                                                                         months following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on
                                                                                                         a separate page. Enter the total Average Monthly payments on Line 42.

                                                                                                  42             Name of Creditor               Property Securing the Debt            Average        Does payment
                                                                                                                                                                                      Monthly        include taxes
                                                                                                                                                                                      Payment        or insurance?
                                                                                                        a.                                                                        $                      yes      no
                                                                                                        b.                                                                        $                      yes      no
                                                                                                        c.                                                                        $                      yes      no
                                                                                                                                                                                 Total: Add Lines
                                                                                                                                                                                 a, b and c                                   N.A.
                                                                                                                                                                                                                       $
                                                                                                       Other payments on secured claims. If any of the debts listed in Line 42 are secured by your
                                                                                                       primary residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                                       dependents, you may include in your deduction 1/60th of any amount (the cure amount ) that you must
                                                                                                       pay the creditor in addition to the payments listed in Line 42, in order to maintain possession of the
                                                                                                       property. The cure amount would include any sums in default that must be paid in order to avoid
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                       repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                                                       additional entries on a separate page.
                                                                                                  43
                                                                                                                     Name of Creditor              Property Securing the Debt             1/60th of the Cure Amount
                                                                                                       a.                                                                             $
                                                                                                       b.
                                                                                                                                                                                      $
                                                                                                       c.                                                                             $
                                                                                                                                                                                                                       $      N.A.

                                                                                                       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                                  44   claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                                       your bankruptcy filing. Do not include current obligations, such as those set out in Line 28.
                                                                                                                                                                                                                       $      N.A.
                                                                                                       Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
                                                                                                       the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                                                       administrative expense.

                                                                                                        a.       Projected average monthly Chapter 13 plan payment.                   $                 N.A.
                                                                                                                 Current multiplier for your district as determined under
                                                                                                  45
                                                                                                        b.       schedules issued by the Executive Office for United States
                                                                                                                 Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                                 or from the clerk of the bankruptcy court.)                          x                  N.A.
                                                                                                        c.       Average monthly administrative expense of Chapter 13 case            Total: Multiply Lines a and b
                                                                                                                                                                                                                       $      N.A.
                                                                                                  46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                      $      N.A.
                                                                                                                                     Subpart D: Total Deductions from Income
                                                                                                  47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                     $      N.A.
                                                                                                       Case 10-15445-RGM                      Doc 1        Filed 06/28/10 Entered 06/28/10 18:02:18                                    Desc Main
                                                                                                  B22A (Official Form 22A) (Chapter 7) (4/10) - Cont.
                                                                                                                                                          Document Page 49 of 50                                                                              8




                                                                                                                     Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                                  48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $            N.A.
                                                                                                  49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $            N.A.
                                                                                                  50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the
                                                                                                       result.                                                                                                                               $            N.A.
                                                                                                  51   60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
                                                                                                       number 60 and enter the result.                                                                                                       $            N.A.
                                                                                                       Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                           The amount on Line 51 is less than $7,075*. Check the box for The presumption does not arise at the top of
                                                                                                           page 1 of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

                                                                                                  52       The amount set forth on Line 51 is more than $11,725*. Check the Presumption arises box at the top of
                                                                                                           page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                           the remainder of Part VI.
                                                                                                           The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of
                                                                                                            Part VI (Lines 53 through 55).

                                                                                                  53   Enter the amount of your total non-priority unsecured debt                                                                            $            N.A.

                                                                                                  54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter
                                                                                                       the result.                                                                                                                           $            N.A.
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                       Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                          The amount on Line 51 is less than the amount on Line 54. Check the box for The presumption does
                                                                                                          not arise at the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                                  55
                                                                                                          The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for The
                                                                                                          presumption arises at the top of page 1 of this statement, and complete the verification in Part VIII. You may also
                                                                                                          complete Part VII.

                                                                                                                                      Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                                       health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                                       income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                                       average monthly expense for each item. Total the expenses.

                                                                                                                                              Expense Description                                                              Monthly Amount
                                                                                                  56
                                                                                                             a.                                                                                                         $                        N.A.
                                                                                                             b.                                                                                                         $                        N.A.
                                                                                                             c.                                                                                                         $                        N.A.
                                                                                                                                                                    Total: Add Lines a, b and c                                                  N.A.

                                                                                                                                                     Part VIII: VERIFICATION
                                                                                                       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                       both debtors must sign.)

                                                                                                            Date:    06/29/2010                                Signature:              /s/ Gerson O. Cruz
                                                                                                                                                                                           (Debtor)
                                                                                                  57
                                                                                                            Date:                                              Signature:
                                                                                                                                                                                         (Joint Debtor, if any)



                                                                                                       *Amounts are subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                  Case 10-15445-RGM              Doc 1     Filed 06/28/10 Entered 06/28/10 18:02:18             Desc Main
                                                                                                                                          Document Page 50 of 50

                                                                                                                                      Form 22 Continuation Sheet
                                                                                                  Income Month 1                                         Income Month 2

                                                                                                  Gross wages, salary, tips...            0.00    0.00   Gross wages, salary, tips...            0.00   0.00
                                                                                                  Income from business...                 0.00    0.00   Income from business...                 0.00   0.00
                                                                                                  Rents and real property income...      0.00     0.00   Rents and real property income...      0.00    0.00
                                                                                                  Interest, dividends...                  0.00    0.00   Interest, dividends...                  0.00   0.00
                                                                                                  Pension, retirement...                  0.00    0.00   Pension, retirement...                  0.00   0.00
                                                                                                  Contributions to HH Exp...              0.00    0.00   Contributions to HH Exp...              0.00   0.00
                                                                                                  Unemployment...                         0.00    0.00   Unemployment...                         0.00   0.00
                                                                                                  Other Income...                     2,000.00    0.00   Other Income...                     2,500.00   0.00



                                                                                                  Income Month 3                                         Income Month 4


                                                                                                  Gross wages, salary, tips...            0.00    0.00   Gross wages, salary, tips...        3,270.00   0.00
                                                                                                  Income from business...                 0.00    0.00   Income from business...                 0.00   0.00
                                                                                                  Rents and real property income...      0.00     0.00   Rents and real property income...      0.00    0.00
                                                                                                  Interest, dividends...                  0.00    0.00   Interest, dividends...                  0.00   0.00
                                                                                                  Pension, retirement...                  0.00    0.00   Pension, retirement...                  0.00   0.00
                                                                                                  Contributions to HH Exp...              0.00    0.00   Contributions to HH Exp...              0.00   0.00
                                                                                                  Unemployment...                         0.00    0.00   Unemployment...                         0.00   0.00
                                                                                                  Other Income...                     2,000.00    0.00   Other Income...                         0.00   0.00
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 32596 - PDF-XChange 2.5 DE




                                                                                                  Income Month 5                                         Income Month 6

                                                                                                  Gross wages, salary, tips...        7,085.00    0.00   Gross wages, salary, tips...        7,085.00   0.00
                                                                                                  Income from business...                 0.00    0.00   Income from business...                 0.00   0.00
                                                                                                  Rents and real property income...      0.00     0.00   Rents and real property income...      0.00    0.00
                                                                                                  Interest, dividends...                  0.00    0.00   Interest, dividends...                  0.00   0.00
                                                                                                  Pension, retirement...                  0.00    0.00   Pension, retirement...                  0.00   0.00
                                                                                                  Contributions to HH Exp...              0.00    0.00   Contributions to HH Exp...              0.00   0.00
                                                                                                  Unemployment...                         0.00    0.00   Unemployment...                         0.00   0.00
                                                                                                  Other Income...                         0.00    0.00   Other Income...                         0.00   0.00



                                                                                                                               Additional Items as Designated, if any




                                                                                                                                                 Remarks
